                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                               CASE NO.: 3:07CR79

UNITED STATES OF AMERICA,           )
          Plaintiff,                )
vs.                                 )
                                    )                               ORDER
RUBEN ORTIZ BARRAZA,                )
            Defendant.              )
                                    )
___________________________________ )

        FOR GOOD CAUSE SHOWN, and on Motion Pro Hac Vice (Document #57) filed July

17, 2007, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Ricardo V. Coronado

Jr. of Law Offices of Ricardo V. Coronado, Jr. in Edinburg, Texas be admitted to practice pro hac

vice before this Court in order to represent Defendant, Ruben Ortiz Barraza, in the above-captioned

case.



                                                Signed: July 18, 2007




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